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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



United States of America,                                  Civil No. 11-1488 (RHK/LIB)

                       Plaintiff,                                   ORDER

vs.

Kerry L. Augustine, et al.,

                       Defendants.



         This matter is venued in the Sixth Division.

         All proceedings before the undersigned (motions, trial, etc.) will be held in the

United States Courthouse in Fergus Falls, Minnesota, unless otherwise directed by the

Court.

Dated: June 8, 2011


                                                   s/Richard H. Kyle
                                                   RICHARD H. KYLE
                                                   United States District Judge
